 

Case: 1:04-cr-00057-MRB Doc #: 102 Filed: 02/21/07 Page: 1 of 6 PAGEID #: 346
™AO245B (Rev. 06/05) Judgment in a Criminal Case

Sheet 1 .
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UNITED STATES DISTRICT COURT

 

 

 

 

 

 

SOUTHERN District of OHIO
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
Vv.
JAMES ANDRE BLACK
Case Number: 1:04-CR-57-002
USM Number: 04175-061
Jonathon P. Dameron, Esq.
Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s) Two and Three of the Indictment
(pleaded nolo contendere to count(s)
which was accepted by the court.
(C1 was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count

18 U.S.C. §§ 2113(a)&(d) Bank Robbery and Assault
18 U.S.C. § 924(e)(1)(A) Brandishing a Firearm During a Crime of Violence

(ii)

The defendant is sentenced as provided in pages 2 through of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

C The defendant has been found not guilty on count(s)

 

O Count(s) Cis ©) are dismissed on the motion cf the United States.

 

_. Itis ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances,

February 21, 2007
Date of Imposition of Judgment

Signature of Midge * *

Sandra 8S. Beckwith, Chief Judge
Name and Title of Judge

| February 21, 2007
Date

 
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Sheet 2 — Imprisonment /
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DEFENDANT: JAMES ANDRE BLACK
CASE NUMBER: 1:04-CR-5 7-002

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
TWO HUNDRED AND SIXTEEN (216) MONTHS on Count Two; EIGHT Y-FOUR (84) MONTHS on Count Three to be

served consecutive to the term of imprisonment on Count Two. Both terms of imprisonment shail be served consecutive to
the undischarged state term of imprisonment the Defendant is currently serving in California.

X The court makes the following recommendations to the Bureau of Prisons:
The Defendant should be permitted to serve his sentence at FCI Victorville, California.

(OThe defendant is remanded to the custody of the United States Marshal.

(OThe defendant shall surrender to the United States Marshal for this district:
Ol at Oam OO pm on
() as notified by the United States Marshal.

 

(The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
O_sbefore 2 p.m. on

 

O sasnotified by the United States Marshal.

(J as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
T have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL

 
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Sheet 3 -~ Supervised Release
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- DEFENDANT: JAMES ANDRE BLACK
CASE NUMBER: 1:04-CR-57-002

SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :

FIVE (5) YEARS on each count, to be served concurrently.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons,

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of.a controlled
substance. The defendant shail submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

(«The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of

future substance abuse. (Check, if applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X ~The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

{]_ The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
student, as directed by the probation officer. (Check, if applicable.)

{The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment,

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1} the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shal! not purchase, possess, use, distribute, or administer any
controlied substance or any paraphernalia related to any controlied substances, except as prescribed by a physician;

8) the defendant shall not frequent places where contralled substances are iliegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any .
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.

 

 
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Sheet 3A — Supervised Release

 

 

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ADDITIONAL SUPERVISED RELEASE TERMS

1. The Defendant shall not open any new lines of credit or make purchases on existing lines of credit without the probation
officer’s prior approval until the fine and restitution are paid in full.

2. The Defendant shall participate in a substance abuse treatment program, including periodic urinalysis testing, as directed
by the probation officer.

 

 
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gment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties

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CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS §$ 200.00 $ 2,000.00 $ 1,231.00

(1) The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered
after such determination.

{1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payes shall receive an approximatel roportioned ayment, unless specified otherwise in
the priority order or percentage payment column below, However, pursuant to 18 U.S.C. § 3664(4), all nonfederal victims must be paid
before the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
PNC Bank , $1,231.00 $1,231.00

8425 Vine St.
Cincinnati, OH 45216

TOTALS $ 1231 $ 123]

C1 _ Restitution amount ordered pursuant to plea agreement $

(1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
the interest requirement is waived forthe XX fine restitution.

(J the interest requirement for the [1] fine (C1 restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 

 
 

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Sheet 6 — Schedule of Payments

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DEFENDANT: JAMES ANDRE BLACK
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SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties are due as follows:

A (1 Lump sum payment of $ due immediately, balance due

C] not later than , or
O in accordance Oc OF 0D O Eo J Fbelow;or

Oo

Payment to begin immediately (may be combined with []C, [(1D,or ()F below); or

Cc () Payment in equal (e.g., weekly, monthly, quarterly} installments of $ over a period of
(e.g., months or years}, to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (1) Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
{e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
term of supervision; or

E (2 #Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X_ Special instructions regarding the payment of criminal monetary penalties:
While incarcerated in the Bureau of Prisons, the Defendant shall pay at least $25.00 per quarter toward the fine and restitution if
assigned a non-UNICOR or grade 5 UNICOR job; or at least 50% of his monthly pay if assigned a UNICOR grade 1-4 job.
Within thirty days of the commencement of the term of supervised release, the Defendant shall pay the fine and restitution at a rate

of at least $10 per month. The Court will reassess the Defendant’s ability to pay from time to time upon the probation officer’s
recommendation or the Defendant’s petition to reassess his ability to pay.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
imprisonment. All criminal mone penalties, except those payments made through e Federal Bureau of Prisons’ Inmate Financi
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

£1] Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

{} The defendant shall pay the cost of prosecution.

0

The defendant shall pay the following court cost(s):

[] The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shail be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
